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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    AMYRIS, INC., et al.,1                                  Case No. 23-11131 (TMH)

                              Debtors.                      (Jointly Administered)

                                                            Objection Deadline: April 2, 2024 at 4:00 p.m. (ET)

                  NOTICE OF SIXTH MONTHLY FEE APPLICATION OF FTI
                  CONSULTING, INC. FOR INTERIM COMPENSATION AND
               REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISORS TO
               THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
             THE PERIOD FROM FEBRUARY 1, 2024 THROUGH FEBRUARY 29, 2024

             PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”) appointed in the chapter 11 cases of the above-captioned debtors and debtors in

possession (the “Debtors”), filed the Sixth Monthly Application of FTI Consulting, Inc. for Interim

Compensation and Reimbursement of Expenses as Financial Advisors to the Official Committee of

Unsecured Creditors for the Period from February 1, 2024 through February 29, 2024 (the

“Application”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that objections to the Application, if any, must be

in writing, filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,

3rd Floor, 824 North Market Street, Wilmington, Delaware 19801, on or before April 2, 2024 at

4:00 p.m. (ET) (the “Objection Deadline”) and served upon and received by the undersigned

attorneys for the Committee.

             PLEASE TAKE FURTHER NOTICE that objections to the Application, if any, must be


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
      of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
      CA 94608.


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served upon and received by the following: (1) counsel to the Debtors, Pachulski Stang Ziehl &

Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE 19899, Attn: James E. O’Neill

(joneill@pszjlaw.com) and Jason H. Rosell (jrosell@pszjlaw.com); (2) counsel to the DIP Lenders,

DIP Agent, and the Foris Prepetition Secured Lenders, (a) Goodwin Proctor LLP, 620 Eighth

Avenue, The New York Times Buildings, New York, NY 1008, Attn: Michael H. Goldstein

(mgoldstein@goodwinlaw.com), Alexander J. Nicas (anicas@goodwinlaw.com), and Artem

Skorostensky (askorostensky@goodwinlaw.com) (b) Troutman Pepper Hamilton Sanders LLP,

Hercules Plaza, Suite 5100, 1313 North Market Street, Wilmington, DE 19899, Attn: David M.

Fournier (David.fournier@troutman.com) and Kenneth A. Listwalk (ken.listwalk@troutman.com);

(3) the Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,

Wilmington, DE 19801, Attn: John Schanne, Esq. (john.schanneusdoj.gov); and (4) counsel to the

Committee, (a) White & Case LLP, 111 South Wacker Drive, Suite 5100, Chicago, IL 60606, Attn:

Gregory       F.   Pesce    (Gregory.pesce@whitecase.com)          and     Andrew      F.     O’Neill

(aoneill@whitecase.com), (b) White & Case LLP, 1221 Avenue of the Americas, New York, NY

10020, Attn: John Ramirez (john.ramirez@whitecase.com), and (c) Potter Anderson & Corroon

LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801, Attn: Christopher M. Samis

(csamis@potteranderson.com) and Katelin A. Morales (kmorales@potteranderson.com).

         PLEASE TAKE FURTHER NOTICE THAT PURSUANT TO THE ORDER

ESTABLISHING           PROCEDURES            FOR       INTERIM         COMPENSATION             AND

REIMBURSEMENT OF EXPENSES OF PROFESSIONALS [DOCKET NO. 279], IF NO

OBJECTIONS ARE FILED AND SERVED IN ACCORDANCE WITH THE ABOVE

PROCEDURE, THE DEBTORS WILL BE AUTHORIZED TO PAY 80% OF THE REQUESTED

FEES AND 100% OF THE REQUESTED EXPENSES WITHOUT FURTHER ORDER OF THE


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COURT. ONLY IF AN OBJECTION IS PROPERLY AND TIMELY FILED IN ACCORDANCE

WITH THE ABOVE PROCEDURES WILL A HEARING BE HELD ON THE APPLICATION.

ONLY THOSE PARTIES TIMELY FILING AND SERVING OBJECTIONS WILL RECEIVE

NOTICE AND BE HEARD AT SUCH HEARING.




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Dated: March 19, 2024                Respectfully submitted,
       Wilmington, Delaware
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                                     Katelin A. Morales (No. 6683)
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                                     -and-

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